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                                                                    LEA SE A GREEM ENT

   THIS LEASE AGREEMENT (‘Tease') Create s ft cbnlract that bindsR
                                                                 esident andOwner asof theEitecnveDat^                                                    Th « ,

                         .oJ L«.s.. <»sis« of .of Indodo. (II Ktoowlodsm.n.               R-g^ ina » » »
   Acreemenl-(4tlieSasicProvisionsinPan1,andthe(4)Terms and Conditions, and Detinitiorts in Part tl, (3) ttie
   S m   l aUfistedintheBasicProvisionsinPartJ;and the Community Standards(which rnay also be referred                                                        to


   a s   -Riilesand Regulations") provided to Resident including any subsequent amendments or updates,
                                                                 pa r t I - BASIC PRO VISIONS ,
   BASIC PROVISIONS, tn the event of any conflict between the terms and conditions set fo rth, in this Pad !
   (codecl iyely. the 'Bask Provisions') and any other provision of thisLease, such ether provision will
                                                                                           co nt ro l,


   ta)                          - 3Vgfwg.0-?i L

                                                                                                                                   ' Bwaai l ;
   ■(b) eommunity Name, Address, Telepi-.cri vi Email, Authdrij ed Agent,-and Community Owner Name(cote cliveiy
                           Nort hgaieManufatluriti Homs Community
                           1260 Nc’US Hwy 69                                                  lMi)ilii>
                                                                                                      g Addto:rj ;Jf diff erent)
                           Liberty, M O &I0o8                                                 1260 NE US Hwy 69
                           Tel.: 8’l 6-4S2r4<n a                                              I Ihm y. MO 64068
                           Email; Ma Northgatei eam^ impactmhc.cbm
                           Authofii eci Agent Community Manager (oi'other
                           riasigtwted pe/sonJ
                           Commu'nUy.Orvnei: MOCLNoniigate MHP, l LC
    (c)    Nsmets) of ItesidentC
                               s) signing Lease (collectively, Resident '):


                il )                                                          DOB: -3/ 14/ 1!)'39


                 a .                                                          008


                                                                              D O B:
                 m


                 m                                                            DO E:       _

    M): fi ^     ganl s' (List any other ociaipants Iha! will reside at the Premises and their a ges);

                                                                                         '3 s.               DS B:       2E 1


                                                                     M L               'SM t l H -K.         6.08:     i i -cn - ,3 a g
                                                             (

                 tai                                                                                         DO B:


                 Ml                                                                                          BO B:

     (e)    t h e Prem ises:
                                                    0 :i E
                     Ho m esit e/ Lol N um b er
                                                    ,1260 NE US Hvry 69 vSB
                     Streel/ Mailing Address/
                     Ci'.y/'Sun e/ 2 ip ;           Lib ott y. M O seoe s




                                                                                                           6 ‘t ‘h v Lm t e t      ■s ! «.“ « ■7 c ; ',e / ee it*' )
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   fl          Lease T et m :

                    HOM E RENTER Lease Term

                     c »         Month-tte-Month, Asermeommencing on tl.e Eflective Dare and connnuing umil-ihe last day ol lhemonth that
                                 isat least Ihiny.BO)daysaha Own«t orRsident electsto terminate th.s Lease,
                     ( )         Other, Atermcommencins on theEffectiveDateandey(jifing an (last day-of                                      Term}
                     t )         Nql Appiicable.

                     Hb M SSl t E/ LOT Lease Term
                                                                                                                                  day c( the
                     (X)          Mont h-w -Month. A l et'in commencing-on tfte Efiective Date.and.continuing until the last
                                  montit that .sat least thirt y !3Q) days afre r Owner qt Resident electstotetmma.elh.SLease
                     ( )         Other, A tefTTi commencing on the Effective Date and er p .ring o n
                                                                                                                 ‘((asrday.ofHomasheA at Lease Terds)

        i aJ Move to Date: JH Srl S fi

        Ibl
                       ( )             S          p et niqmh (Month to Month Lease Terms)

                       I )             %          pec .Tionlh tor the peri od commencing do the Effective Date, andendingon/ tmtLfetLafl ^                enMfe
                                                 >Bnetvnl S,_ pet month, tor thepenqd commencing an _^atid endi.Vg on (O^                Lease Terms)

                       (X )                       Not Applicahte .

        m

                           (X)     S434;00        pot   month. (Month to Month Leass Terms)
                           ( )     $434.00        per montti fc r the peritxl commencing on Ui ie Effcctii/s Data .and e/iding on and for any auti3.m tk
                                                  renevml S_ fief month, for ths peri od commencing,pn..,uand ending on (Other Lease Tgrms)

                Bast?Rent. The Base f?ent under this Lease isthe amaunt of the Home Rent (if any), pte the Homesita/ Lbl
                                                                                                                                  Re n t .
        jtjl
        ia      Prorated li ) Month s Rent": If the Lease t ern , commences on any day other than the fir.st (Ist) day of tfia month, Resident si lal!
           pay Owner,anamount equalTo asprorated SsseRent tor such month. NOTE; LasSmohthfs Rent W UL NOT be prorated.
                                                                                OR    { ) Not Applicable
        (U Rt^ufirv Daoositi SOfl Ofor Home AND        fo; Homesite/lq!
         fm)          Month's Rent: SO.QDlot ITohie AND $0.D.0.for Homesit e/ Lot                      OR    ( X ) Not Applicable

         £nl ffrhAr r harrmt (X all tiMt appl/ |: The following charges, where applicabte i may require a separate signed ag reem en t
                (■'addendum'). These charges will not Ire soparatBly invoIcBd but as a convenience will appeal on ResWent's monthly .statement
                and are due and payable in full at the same time os your monthly B,i se Rent, utilities, etc.
                           ( J    s torag e'                                      $0.00           per rooitth,

                           ( )    Pel Re m ico n Rr nU Onlyi                      SO.OO           L2S.00 per first pet per inanth, S25.00 per second pet p et
                                                                                                  mo nt h,

                           ( )    Pa rL'ing                                       $0 4)0          E2S.0p.per extra vehicle,per rnonth.
                           { )    Taxes                                           S O.OO          (j er month.

                           ( )    O t her                                         SOA O           per tnnni h.




                                                                                                                       ! rVi Slatirs I Pec A ’l n    n me-y
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   igl «;^m»maiv nf Mow >nCiMtsand Monthly Chfi THS}.:
                                                                                                 Summar y of Est imat ed Ment Mv .Cihara.^ *
                 Amount? Due Bef ore or A^JMgyJS:.ls
                                                                                                   Hom e Ren t                                S
                                                                 s
                   1?* M on th '? Rsi i t - Ho ni a
                                                                                                   H.o m esite/ l.ol Rcit t                   J^ 34.00
                                                                 S4 3-J.Q0
                    l 5t Mentll 's Rcht - Ha Tie?ite/ Lol
                                                                 s n,o o                           Utilities (W/ S/ G/ E/ P)                  Per UUBty f^ddgttdum
                   Sefuri ti'-Deposit - Home
                                                                 S-i S'l 00                        Trash                                      Per Utifliy Addendum
                   .Sec'j my Deposit r Hoinesilo
                                                                                                                                              SQ;oa
                    Last M o n th 's Re nt - Hom e               $0 ,00                            Sto ra ge
                                                                                                   Fet Reiu (COH Rental Only)                 SQ.OQ
                    Last Month's Rem - f-lpmesits                $o.c o

                                                                                                   Tax es                                     :i a :oo
                    Pel psmage/a eai-.mtj Deposit
                                                                                                   PatHng                                     -so .oo
                    Pet f ee'
                                                                                                   .OwnePs Self Hel p Costs                    N o t Ve r De w rm ft tab le
                    Ret Rent (COit Rental Only!                   SO.OO

                                                                  50 .00                           Muhicipal Fees andl axss                   $ 0.0 0
                    Key Deposit;(COH Rental Only)
                                                                                                   I n s u ra n c e                            SOJSO

                                                                                                   f ines, Fees anti Other ClWffj es           Not Vet C^ termlnabts

                                                                                                    l ave Charge                               s s o .o p




           •'‘Some monthly charges ore on estimate only and actual etterg es may ^ ty .
                                                                                                                           1. Pieai o
    l El   Bent Pavmehss and Pavmgnj.Addrgj s: Ift m DO NP.T,;ACCEg „C^ _,tl P.ft]r,^,^ S;                       ^e mh h. ,.c ifnom
                                                                                                                                eri
           make CHECKS or lyiONEV ORDERS payable to the propert y     manageme        t
                                                                                      r company: MOa ^ ijg rt ngat
           psymehis may be dropped off in person at tl'-s Coinmunily OfficCi or mailed tc ’
                                                                  MOCL Nanhgate MHP, I LG
                                                                     t Peo NE US Hwy SS
                                                                  Liberty, MG 64063

           We also .offer the cp.w emence ai BLECTPQNICPAYMEN TS. Please refer to.lhe elect ronic Payment.Authoriiatipo fo i m
           provided to you-

    XR)                                                               Notices to the Qwnar ttiay tse mailed or Itarid-tieliyercd i p the
           Oven ni 's N o t i ce A d d m si; t P o N o t U sn f o r Ren t Pav m gu WL
           Community Manager at thesame.address.Where you mail or pay your rent in person; with a copy hiaUed to;
                                                                     P.O . 60 X4 57
                                                                     CedarBdge.' CO SL415
                                                                     Attn: Lega! E>epaft rii ent

    M      Resident 's Notice Address, i x ! l !?.e..Prffi .Tt i eS-     ( ) Other; ,,      -.         ^                                  ,

    ( $1   Lease Attachments: An 5f b>' the addendsjms and other d ocu m en ts listed b slov,; (-'’Att uch niem 5*T ind icat e they are made a part
           of the l ease ari'd their terms apply whei h.er or not signed by Resident..

                   ( X )        RS I DEN T OW N ED H0 M E A D DEN DUM

                   ( )          HO M E RENTER ADD EN DU M

                   (X )         u n i r r iEs a d d en d u m

                   (X)          STATE^SPEO n C A DDEN DU M

                   (X)          RU LES AN D REGUO'u IO N S/ CO WM UN iTY STAN DARDS

                   ( )          STO RA GE AGREEM EN T

                   (X )         PET/'AN IM Al a d d en d u m

                   ( 1          l as t M O NT H'S r en t ADDEN DUM




                                                                                                                      67ii>;   <■ : V (                            * •'
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                   (X)         RENT CONiCESSl ON ADDENDUM

                   { )         ho me RESlDENCV.COMMiTMENT ADDENDUM

                   ( )         RENT CREDIT PROGRAM AGREEMENT

                   ( )         '/ lOLATTON f !NK an d COSTi ADDENDUM

                                                par t H- TESMSAND CpNbrnONS, AND OERNmONS
                                                                                                                                                fo rt h in Sii e
   3      DEnMED TERMS. In atldiliun to ll:e capiw!«Ed                     tie/in«d .tlscrwhere in thij U ai e. the capitahi ed leiins sal    and
                               hav4 the m8snin§s.5ai fo rt h in tha DafiniSoni vviur r^ pect to the provisions of this Lease, any-Attachmen-s
                 Community St sn^ ardJ^.
                                                                                                                described in the Home
   2.      HOME. Any and ail mfo renaH-in .h.s LhaH.- oi in any.ol the Attachment to the -Home' nteans the-Home
          .Addencum, If the Home isle.ased by Resident, than  the "Premisss" shall include the Home.

   3. OWMERI LEASEOf TH&PB-M SE&^im Mi iO
                                        JaililotL^
                                                                                                                                                 Ow ne r, an d
          &!■m m HomeOwner itothee,ident it » apatty to thistease (pursuant ip a Home Renter Addendum). HcrniEsiie
                  Resident each agree artd scknowledgs as fo llows-
                                                                                                                                         .ncludes; (1) a lease
                  (i)    Por all nrirposes, tl.is Lease (.ncorporalinr; , fo r the sakn of clari ty, the Home Addendum (if lelera nt))
                         by HomeSiteOvrnet of llw Hoihe.4iteto Resident, and (21if the.Premise indudes Ihe Home, a sppatale lease
                                                                                                                                  by Borne
                         o wner d( the Home to Resident.
                  (ii!   Relercnc® to the 'Owiicr- In this Ua.se or any of die Atlsclirhcnts siiall be deerned to indutte a .separate ref e« hce t o
                         each of (15 Homesite Gwnw, Insofar as Is,refc-vant to the lease of (he Homesitt- by Resident, and (2) Ho rne O w ner,
                         ini far asisrelevant totheleaseof theHomebyResident,If the premises does hot Ihcludeithe l-tome. all.rete rences i n
                         ihi,< Leaser ana any Anachments to ' Owner ' shall be deemed, fo : be a reference only to Homesite                 Owner.
                         Natv/iiiwtanflincj anytliing herein to tire, contra ry, Homesite Ownei'.shall bo- entitled lo collect all Rant
                                                                                                                                        and o th er

                         amounts p tovidad hereunder to be paid to Owner,

          M        Left se 6f t he Pretri isM: In cohsidefauon of the mutual cevertants coritairieo herein, Owner hereby (eases to, Resideii t, and
                   Resjoeni 'hK'rei ^y rsrnts ijom-Owner; Uis PriitniSGS.
          isl      UCB o<Coirrmon Areas. Subject to tirfr 'piro'risior s cifThe Lease, ResidcnTshall have the npn-e« lu.stve rigiri 10 use during the
                   Lease- f efiri bITCommon Areas desigrt ined by Owner fo r use by Community RasideiitS; The Common Areas shall be at all
                   timessubject totheevrlusiveeomroi andinanagemc'nt of Dvj ncr..Bnd Owner shall have the fight at any ri me, a n d fro m tim e
                   to time, to cltairge the area, level, Ideation and arrangement of the Commerr Areas and to doss all or arty portion of the
                   Common Areas, To the e.vtont the Common Areas incli ide pafWng areas, this shall in no way be construed as giving Resident
                   any nghts or piivileges in connection with such parldhg   aiMs unless such rights or privtlegrs ate expressly set fo rtii ih tin;
                   Lease.

   rt ,   LEASE TERM The term pi Irils Le3.CK shall be fo r the HctriEsitP Lease Term and .Home.Lease Term jrf appltcablej iei set fo rt h in t h e
          Basic pfo^ 'sions, unlesssooner extended or terminated pursuant to this Lease, Unless Resldenl has surrender^ ih e.Prem ises' ii i
          accordance' rvlth the terms and comfninivs of fti is Lease on or before- the expiralion of the Lease Term, then, upon the expiration
          of the Lease Term, all tet iris and condii inns oi this Lease sivjtll lernain rrt full fort e and effect (except as Rent msy be increased as
            T idt-d (or in the tease) and .the Lease Tenn shall be continued on a montli-ta-mantii basis (if any. the "M sDi fe rtSuM.^ b
          ptO
          Ten»n -until the last day of the moirt h that is at least thirty (SO) days after Owner pr .Residsnr electS-to temiinale this Lease, or
          such olhei period as is required by iJ W.
   i,     EH O .

           (al     AgEft gmStt i a £ a La,gfl '. Resident agrees W'lwy RuiiT loi OM ier, ai tli e Runt payment -Addi.ess (or to speh other persotB, or
                   at "such oiher-.piaces, designated by OwmrrL witfioul any prior derhari d.tlierefo r in iinmcdistely aVaiisbls funds and withpul
                   any deduction or offset, except aj oiheAvisc permiPed by .Law, Bbsl* Rent shalTbs paid monthly in advance on the first (l ^i )
                   day of each month ol theLease Teon, except that the first ihstallment of Base Rerir shall be paid by Re.si;lem to O w n e r o n o r
                   b efo re th e Effect ive Sal e. A i Ow ner's d iscretion . Bat n Rem may. be-pfoiaied fo r part ial months viiihin the Leas# T ei m;
                   provided, however, no such prbwtfo n shall be made-during          any Month-to- Monlh Teiit i, arid Resitte nt shi ll pay Rif nt fo r-t he
                   entire month regardl-a s of vAiether Resident cca iples thg Premises for.such month. Wla n made, payments-will, at O w ner's
                   option, first ba applied to past rlue Rem.-with the balance. il any. to be applied to cmrenl obligations in li.ke order.
                   Lat e Charogs. Wli ere peiT O -rt led by and in accoidance with Law, Resident agrees to pay Owner'(i) a Lste -Ghorge f o r e a ch
                   month that Rent is not paid by 5 p.m. fi n the local tirne t one where the Community is locate d) on the- E'*' day of the month
                   lExampla: if Rent is received any tims art ei 5:01 p in, on the Rh'’ day of tlie muntli, a Late Charge will b e ad d ed t b -Resid en tis
                   account), end/ot fii) a Daily Late Pee fo r every day Rent remains utipaid after 5 p.m. on tbe Si-h day of the moni h (Example:,
                   it Rem IEno! paid until the l ob' day of the month, a Daily Lat e f.ce will be charged to Resideni 's account fo r each day that




                                                                                                         ffe st/ f cwsr / .-le' ^ Sinss J ft sTrSI / / Sw e
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             D                           the ton! I* livf IS) days ttiom the eth throatj l, the i O'h)). Reol sJtall be considered paid whet.
             s=
             t he
                               *ES “S='Sii^ ^                                           s—
             NEVER PAV YOUR RENTIN CASH.




             andsutL cierim
                          j thePtdmiSKattheendn!ihenoticeperiod.Resident shall beboundbythetermso?thenolicthe
                                                                                                           e
         fd) Uase-SpecificTaHes &i s^ RResident ia.ls to pay anyLeose-Spec-tHcTa® ,gt Fees, thenOwner shall hai/e
                                                                                                              nght Ceut

              S .S^^iigatteniT^^ y ^.mountsw.thomnoticetoResident,andany.amounts snpaid by Owner will                                           a dco
              toResident-! accountandwill beintmedietclydueandwith
                                                              payab leasAdditionalRent Totheo.t^tpermtnedby
                                                                   eviri ence.df' Resident s payment of any. Lea>e-StxL
                                                                                                                      awRwi^ n;
                                                                                                                      cir.c
              shall, promptly after Owner's -epuW. provide Owner
              Fe e s.

         (bS aed nmic^ aymSBK. 0«n.tr sta ll have the right, but not the cibHgatipn. m offer Res
                                                                                               idenl the ability to
                                                                                               methota Scoik a ively. I to                         nb
                                        automatedcl®rh.ghouse.(AGHi debitso, other elecKonlcpaymc.nt
              P.,ymw s1. if R-^ideni has properly registered to, Eiecronic Faymehls pRuesioent
                                                                                then   rsuant ^hereby authofices a .-ii er to initiate
                            Electronic Payments rSfi SIsatlS-EayDlSilLito l hstfeatiaa-),
              debit eniri ..s tryResident's ap|j.oved dtecUng and/or sayings accountfs). and to debit Rem payments
              In accordance .vmh the te.ins and conditions of the E    lectronic. Payment Authontalian. The '“'f
              remain In Mi to rce anti sifccl until icvofced in acco,dance Wth the terms and conditions of the Elec ron Pnym-H
              Auihonai tion, Notwithstanding .anytitihg in this Lease (incltidlng, without limitahon, any Ctectromc     ®'"    .
              Tothecontrary. Resident.acknowledgesrmd.agreesthat Ovvner's acceptance of any Eectron.c Payment Sita o rd ieve.
               Rs ident of ic o-ta gation to rriafee timely payment of pHR
                                                                         ent duehereimdw. Resident also adcrtovvl^ ges                     thats.ability
                                                                                                                                                 if ^ y
               Electronic Payment is rgected due to insufficient (unds. Owner may immefliawly and wnthout notice teeoce Resident
               to ri .ake Electro nic Paym en ts

   6,    SEteu RtTV b^      snr.
                                                                                                                                   IwoVg In Dat e, th e
         r»t ..tec ri tu Deom it Exceot as othsm ese pmyirj ed by Uw, Residfi iu. sgrees: (ij io pay, on or befo re the
               SecurlwBef^ tspecita dinlirebasicProvisions,whicli sum shall be held by..Owner, tvithout inte rest as.a 5«
                                                                                                                       secunpy deposit
               and will not ta relumed until and after the premises have been vacated and inspected by.Ownei; (»! the     unly Deposit
               may be used by Owner to pay tor darnage (oilier than reasonable wear and -tsar) to the Ptem'ises [including, yvitliout
               limitation, its lawn or other miprbvements) and for damage [ctiier tlun reasonable wear and tear) caused by any Resnte -nt
               Patty to the Comtmm Areas or any other portions ol the Comniunilv'; (iii) Owner may also use the Security D epo sit as
               ebrnpensittfo n for ij njrairt Rent, for deartup costs, for darhagMOfany naturesustained becauseof breach by Resident of any
               cit the terms ol this ta ase, including the covenants and conditions to be kept and perfomted hcretindsr by Resident .and for
                                                                                     it -is not advsncd rent and cannot be applied to Rent by
               any other purpose permitted by Law;-and (iVj the Security-Depos
               Rw ident -

          {la rtefiirilv Dennvlt Rmsirn Ow iei Shall ra.'untl the Seciiiity Deposit to Residem as provided in ihH Lease si-.d-appHcable LaW         .
              Unleis othehviseprovide by IsiV.nopan eh heSceprity PeposSt.shall be tsfunddd unfess Resident provides a t
              least thirty fSOj.days prior written notice of surrender of the Premises. At the option oi Cwrier, Owner may pay any
              refund-oi tire Security Deposit aft er apptyiiig all deductions, by one check.payeLile and deiiveretl to any Reslcfo nl of one
              check joirt tly payable to alTHesidenis but deliveied to only one Resirieni. The smcurit of any tefynd will
                                                                                                                                     b e cak u latet i

              without regard to vrho paid tiie-Security Deposit cwvvhtiso. caiidtici ivsiilteii .in any ti ediici lons, To thc.extent permiited by
              Lisw, each Resident rnusi provide written notice of die mailing address for oriy "refund of the Security PepiKn. .piyner shall
               inali TheSecurity.Deposit-(lesslawfuTdeduciicns);and an item fe ed list o f .d edt iclfo ri s n o later t ta ti 60 days (or .t udt shorter
               period Si may be re quired by Law) after Resident s sum ndsr pi the Premises.. The refund snef/ dr wri tten explanai inii of any
               ppiTign of the Securlcy Deposit letafned by Dv/ner shall tie mailed ip Residem at Resident's bst kr.oivn adcife-sa. Upon t he
               sale or transfe r oi thaCornmttnity by Owner and trahsfe r of the Security DepOsiUo the new owner of the Communify {eitite r
               as a transfer of ihd Secirrity.Deposit or a credit .i gairrst the purchase price), to thg extah! permitted by Law, Resid en t sh all
               look solely to the nevr oy.Tior, ancl nbt iPOsuner, for a rehmd of the Secunty'DepbsiL
                                                                                                                                       lim e and in t he
    7^    UTl u nES AND TRASH Resident agrees to pay lor all uUliUes and trash removal, as Addii iorial Rent at the
          manner set fort h in the Utilities Addendunn.
    Sa    Ugl Re-sident agrees to the followimj tEStriclions and co n ri ltioiis 6i u se of t he Rni niisai ;
          M B.r.ilHp.mf-'* tiw and Oceuoanrv. The Ptetnises shall be used only by Rwldcnt and Approved Occupants only fo r resid en tial
                 purposes Unless olharwtse prpvidal by Law or wUii the sdvantia written consent oi Owner; Geoj pancy 01 the
                                                                                                                                               Hbm b h

                 i^ri stri cted to no more than 2 potscr.ns per bedi com. No aimmeirj al r.ir business-art iviiy or enterprise siwll bo conducted by
                 Rf sideiil In the Crj mmunity exeq j ! those activities expressly authorized by Law or the Cnrnniunity Standards and any




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            gra uiidsto .' imn'fi di.Ufi evidion

            p,.«»., m'r f ™5.^ «.!l hi l “ .oi «.liW« »>»ar...l!s.i illi (M><o » ••»•WaW' °' i“ >i>'" l‘'“ ’ '*"<
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                Common Am.ss and Olher HomeiiiBS,                           ,         .         y,     f       o,i,e, souhBs rjT noises at levels lend
                                st “ .t r r                                                           — »*— - - "“••'’■™
                Resident stvai! not nnreasonabSy lnrer1« e with Owner's managenrent of the Communiry,
                                                                                                                              their Guests a.rd Approved
        /<4V Common Areas 1he Common Aj'oas are to r to e mutual use and enjoyntent of all Residents,
             Dccucanii' iHt: of fhe Common Are3^l \V*H at     Res'dcnt Party's qwn risl;, and Resident shall hold Owner 5 Re!3,ed
                PartieshartoL W
                              ithrespecttosuchuse:Osvndrwillnot at arty timeptpvidesupenr.sory personnel,


        ■i ^                                                      i ii l i »                                                                                   i
                any.     asslgrfmeht of thisLease, requirereplacing Resident !6 deposil ,t nsddiltono! sccimty deposit with Owner,

         (Sl In GeneroL Resident must keep the P.om.scs and ihe ti ome neat and orderly at all limM. AddltionaJlv, R
                                                                                                                   osident sh^l not
        ^ allowiwi^w-af'clutwrtoex.sl onthePremises.All items, jncluding childreit's toys and playmeItems, lawn fumilura,, barbecue
                                                                                                      Community Standards.
             gfilli and ihe likr;. must Iw stored i seal and orderly manner, and as fuithor pfowded in
                                                              IM


                                                                                                                         condifo rts. Includihg;
         (bl Mnirt and Prats RKident and Owner agree that ttiey desire to keep to e Premises free fromuntiealtliy.
             excesstS sSi thegrowthal moldandmildew,andpetflnfesimion.               .ResidBnt's feifure to,properly    maimairi  the Piernwes
             free of suto unhealthy coi.ditions c6t!siiiu!« marerisl iioncomplienc.e wUh the.terms or this.Lease end is grounds or
                                                                                             b e at Re ud enl 's so le cost an d exp en se .
              ietminahon arid evia son. Remediation andror rerncwal of such cond'dotis shall
         i d fi gpafr^ Of Ewiemencte . Resident agrees to nobly Owner immecSalely of any tiefe T.iye cprt dHiDri of the PreifiiSes or the
                 Co m m ufi iry which the Resident has reason to believe is the duty
                                                                                          of Ownrc to repair (if any).

    Jfl . ENTRY Resident.agrttes that m accotdance with, and to tii« liiHest extent allowed by Law, at all reasonable
                                                                                                                                 times dutirig the
          Lease Term, Owner and its agems iincluding Commonity.Manarj er) ,niay einei to e Premises tor purposes of inspection, d eaniri g.
          repairs, pcBtlno of notices dr UliTity Bills or. in Ihe event,of an emerg«icy.- to perfo irh acts Owner daams necessary for to e
          pre wgian of ihe-Premise.s or salety of Community Resifte 'itr. or ciiicr persons', Additionally, and in accordance c-si sts; (b j Ow ne.
                                                                                                                                  With Law . O wn er

          to av enter the Premises artd the haine in a (easonable    manner  and  at a rsason. -ible time if; (a) an eittergency
         leaU abiyholievesthat Resident hasabantionedtheHoine; £c) Owner or any of its affi liates provided             Resident financing for the
         ourdto se ol 10“ Home (dr it Owner or any of iis.affiliates k e or inay be financially respomihle.-in arty manner,
                                                                                                                                                     to r t he Hom e,
                                                                                                                        lias given his/ her
         including, wilito ul limitaudn. by-way of guaranteeing the firiancing for the Home or utheiwisev or (d) Resident
                                                                                                                    Resideni m w h ole o i m
         consent (whieh-eonseril may be verbal). Resident agrees that such entry shall not constitute an evraion o(
          part .and that air Rem rlue and payable hy Resident under thisLease shall in no.way be reduced by t^ason
                                                                                                                                              of Inconvenience,

          ™ !cri tu,banceot injuiytoResidentduetosuchaccess.Resident agreesnot toholdOsier'sRelatedRatoestresponsible
                                                                                                           h is secIio ., .
          for any acts or omissions by any,of Owner's Related Parties whileentering the Pre misss and/o.r the Home putsuant to
          P EPA U LT BY RESI D ENT ; TERM IJdATi g N .

          (at    p af ault A defauh under the Lease irtcliitles LsJI is no t liii iiled to ’
                          The to ilui e to pay Rei't or ether lawful iirnounts when due under this Leasfe. including reimbutswperit'fe r
                                                                                                                                                      dat na<
                                                                                                                                                            j fi .s an ti
                  fi)
                           l Ep aits;
                  to )     Ttie yiolmidn of any coyenam or condition ol this Lease or a ny Laws wiiit respect to t he use or oct upancy of i he
                           Prem ises t ir t he Co in m iin ily;

                  {(li) Abandotimei'.l of llie Prernisfa:




                                                                                                       ri Ws ; .'.j-'.tvr / •■’Uf f-.'j K -; / Orx
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           ij v) Providing Incortact or falseinfoi mation on 3ivyapplicationfor residencyor linsneingp' appticsbls i:
                                                                                                                 limited to drug-re lated
                                                                       ainvicted of criminal activity incUitlincj but no!
           fv)      duiina the tease Term, any Resident Party «                                         agaiitst person or pfO(Mrty. any vioJehSot
                    ofiensgs (manufa,ctiire. U50 or possessiont, setual orf en ses.
                                                                                           Cfi m e it



                    aggravatedfelony,or gang-ic-iatecioitenso;
            (vi)  iltegai diugsarefoundon or inliie.Picmises:
            tvil) .Resident dr any Occupant liasbeen, is Q' becomw Prohibited Person designated by ihs United States gove<n i r w n i 'a s
                                                                           internatidniil narcptics traHicking:
                    dpersonwitocommitsor supportsterrdii-sni or isirw o tved in

                    limiiation.,ony supplemental agreamant tviUi any of O.vner s Relat ed Pau i es. o r
                                                                          ciefawVt under she Laase dr applicabfa Lssv.
            (iV)    Anyptheracis.&-r otnisopnsprovidingabasistor                                             eri od, Ovvnet ishsll have ail remedies

             avarlabte at Law.equityand                                         , il,eLeaseandeollett Rent Default Termination Damages, pi)
             Pre mises Dnd remdva.aHResident Parti© In accordance with ail applicable Lav...



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             maygivenoticetovacate,if reqtilreri ,byanyof the fd ldvving rnel Koas.
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              (i)    peisonal dcliveiy to any Resident:
              tfi ) peisonal deliveiy at ItieFremisestoanyoc'cupani 16 yearn of age nr older;
              (iii! affixing tire,noticetothecutsideof tiiemament^
                                                                     d o or o f th e He m e; o r

              Pvl as ctheiyrl&e permined by Law,
              Gredit Report fa fl O-Mter ttfe y report Ras.der.t s payment history, outstanding balances reuimed itemfees, Litefe es
                                                                                                                                                  and all

              -^ “ ^ 2 CodingunpaidRent,otheramountsdueand/orinsuffi cient funds or return ed checks, tov credit fet,£..d.<..
              Le ase
              local rj ecilt biireau or glhisr siiriib r collection o r cred i l reporting service fo r pemtaneiit inclu.sioo in Resident
             well asto anynaiional or ideal tenant reporting biire-au.
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        te J nvmer's Riotu P.vrr-o.m. Rcstdent .buties.JJea Bjglia, If Resident f,i ils timely to perform any «f its duties
                                    Lvri ihe-ng^ lbut rfo, theobtig^^ to performsuchdulyoil behalf and,aiUieexposepi
            vvilhoul .prior notice to Resute nband all sums expended dr nypensesincurred by Owner in                                     n'
            v.Ttir .eny lawful hourly labrtr charges thar O-.vner may Impose fiom-time to tinie. colleclrvely.                    i iMI b e
            deemed VObe A&iifl dnai Rent under,this Lease and siralTbedueand payableimmediately upondwrond bv
                                                                                                                            O vm en To t he

            extent permitted by :L.i w and tontrad. Owner sfi.all    have  a e
                                                                             t gal posseMdty e
                                                                                             t d an  the  Home (atcepi   a  COH ) fo r any
            unpaid Renl, including, wilhciul llniitution, Self Help Costs,
                                                                                                                    l li e Pt emisas at th e
    Xt! RETURN OF PREMISgS. Resident agretrs to refrain from causirirj damage to thc-Prenitses and to return wear excepted, Any
         eifo fr ahd n' of termination of the U ase Term in the same condition' as v/lien received, reasonable snd ordinary
       damage to the dnVeway. Homessto or any Otiicr portion of tlfo Premisesor IheX-om-nunitycausedbytie insi^lation
                                                                                                                                              or removal
       of the Home cjr its improvements not repaired to Owner's satistaulon may, a! Owner’s dist retion, be repainrij by Owner amf -such
       costs charged to Resident as Additional Rent
                                                                                                                 in t he Le ase sh ail not b e
    13 NON-WAIUEB, Arfy failuie by Owner Ip tjniarce the obligafiQris, ggrectiieilK, or covenants contained
       deemed a waiver of art y subsequent ri ijht pi Owner i o enfoi cs the same.or other obligatiphs, agreements. Or               Ownep
                                                                                                                 breach, s hall also ,not be
         fsilura to seek a lerriedy for any breach by RK idcnt. ur re ceipt of Rent v-.-ith knowlsclge af any. sucfi
         deemed a waiver by Owner ol its-rights or rainc-dies willi respect to such breactr or subsequent bieatlies.
    14 nuuNFP-e GUMUt-ft n VE-RIGHTS. No right or remedy ■■cinfen ed ti pa ri or reserved.to Owner is IntendDd to be-exrj usive of any
         ^5r«,nght or remedy, te chandevuiy right andremedyshall be t umulaw e and In addition to any other riglh and remady given
         heroundef. now of hereinafter, exTsfiri g at Law tn in equity or Isy si atuie,
                                                                                                                     any planned absence
    i s= ext ended ABSENCE Resident siiall provide Owner with at least Seven (7) day; advance vmtten noiice.of
          from fil e Premises whidt will eycesd fpuitaen consecitirve (145days.
                                                                                                                       is en tltlBsf to s eek
    16 tMli lMCTlOM- tAiaiVER OE JURY TRIAL, In additIvSrt to all other remedies provitied in this Lease, Owner
                                                                                                                                contHUons or previsions of
         iniunctive relief far the Violation, or oti empied or threatened violation; ol any ol l ire lerni s, covenants,
          this Lease. Bolti Owner and Resident hereby waive then right to a trial byjury In any action involving theUease.




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      Additio.v.l R«t,                                                              the t,ie, oi r. cl-5hall beemf.ted tb reasonable anamey^' fees and
       this t ease. .the se
       cc'ais.of .She Wgaiicn or aib'malloh.
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   "■“ S f !.s “ :;.Tr ” ^:ss,«.h,«»„ .
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   " f^        cbcesanddem  ands. ^
     Rfov&ions.O^terinay..unli!S3othennsct^eo-                          Ln«,it osameHi tlie 0 5- Mail, .addressed rp Resident at tiieP-e m ises o r (d
       over theageet 16occupyingthePremises. !bl                                            R«!,ideht shall give all notices to..Owner by petwnal
                                                                                                    . o,ice.. dd. ss: Owner may «                    Own. . Nohce
        Address upon notice.to Br-sidt-nt
                                                                         The Rules and Regulati ons, of t drhmunllv Standards iaiuo 'Standards'l are
   ?0, Bill ESand RSGigjm oftSiJaii-SBIilBAB^ "                                                                                                      f

         incorporated asterm's and conditions of                                                                          in accordance with appiicabte U v.-,



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    13, RgsibgNT in su r ance                                                                                                                                 D OES N OT
            M &ckEiaS!dgd3Bni« t fe!y-Si 5U!5ns- RESIDENTACKNOWLEDGESNOn nCAT
                                                                            O NTHATOWNER'SINSURANCE
                                                     ANVOFTHECONTENTSOFTHEHOMEAS^ INST LOSSOBDAMAGED U E T O
                       INSURE RESl bl Nt THE HOME NOS
                       FIRE,THEFT, VANDALISM OROTHERCASUALTIESORCAUSES,
                                                                                                               m ain tain in force during iho Lease terrn Ute
            l li i     Resi dgnU na tt sssg itesidem shall, at Resident’s sole, cost and expense,
                       following insurance;
                                                                                                                                                             time to ‘time
                       fiV   Generul LiabiEty Insurance with such limits and i n such foiins as Qvmei sliair reaSpn.abiy reguire (tom
                             during the Lease Term.
                                                                                                                                 an d
                       (ii) 'Any insurance required- toIbe maintained by Tenant putsinint to the Home Addendum’
                                                                                                              horn time to Imie’durt ng the Lease Term.
                       (ill) Such olhet insui snce iind vviUi such limit; as CHvner shall reasonably rtfquire
                M gnrmnf PdllcSes. Each insurance policy reguirerf to,be maintained pur,«aiit to tins Lease shall (!) name
                                                                                                                           O w ne r «

                “                  inturedsor lot.; payees, asapplicable(.11beissuedby.oneo. morele.sponsible.nsumneecum^nies
                       KensedtodobLinessmmeStatemwhichtheCommunityis located dnd (iii) shall liravida that such msumnee may not be
                       canceled or materially amended witboui thirty (30) days' poor written noticeto ^ vner                          less th an ten tl Q
                       certifi cattt of insurance of all poltciesymd renewals ihemof tobemainlwriedbyR       es<d«it,hereunder not policy and (in)
                       days prior to the Commenccmenl Date, (ii) not less       than ten (i O) days pr
                                                                                                     i or to the expiration date of-each
                        within 2-reasonable time after Owner's written request
                11.1            . 1, Ohtnw Insurance: In the eva n that RMideni. fails to maintain and |wy I'ot any of the.ir.surance required'by this
                ^ Sai l ermay;           ohligatedtoobtainsuchinsuranceandpay the required prn miums, In which cwpm Resident.
                  sha«^;e“ayDW
                             nX .asAdditional Renl. all suci, sumspaid byiOwne, Within thiity (30) .day^ following Owners                                          vm n e n



                        demand to Resident fa r sut li payment
                                                                                                                                           cause .of actiph against
                1„ 1    uum unr o f s u h m o al io n . Resid en t herelj y w .sives any and .i ll rrights of teceveiy. claim, action or
                        5;;;^ Related"pXi?rforanydamagethatmayothe
                                                                ccurterms
                                                                      tothePremises,theHo.r^randforanypersonalpr^ rtytherwi ^
                        reason of anv cause which is insured against underof any insurance policies required to he ni.amiamed hereunor r.
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                in this Lease mat,' not he voided avoided, vitiated ® ol hend.se modified in the event
                insurancedialif requiredtobemalntsnedpu.suenltotelitisideLeiit:asea,gree
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                                                                                                                              endot^
                mhrnc-ation aaaihsl any o! Owner’s Related Parties,
          dlHewisevtrmtntoprov.deihaiimi,•.surershallhold any rightsof submejationaga.nsi any of Owner'sRelated Pa rh *^ .
   23 TERMS E^-eri t as niherwise-specfied herein, ’-hroughoUt this Lease, the singulai shall Irtciude the pto l, the pluralreqi
                                                                                                                             shalliireincWith
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                BclmeoLe-ilirtepandershall includethefeminineor neuter gender, as the              context shall indicate or
                                         oiLbiMy,leleaseorihdemrtiiy.andasolherwiseappropriati. ’t
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          asspecifi edabove, Swrier-sRelated Parries. Wieie8p[>!opiiaie. 'Resident' shall includepHResident Patnw.
                                                                                                                               or any otl.er Resident
   ya APPUCATTOhL Pesidem r<=piesenis to Owner th.v any and all Appilcatidns.for Resider-cy that Resident
          ^ Sto ^ rovrlr'dtoOwrleriri-conneettonW
                                                iththisLeasg(iiidud.n.
                                                                     g, without limitation, any fi nancing awi.cnt.ons)
                                                                   or false.statemBirts on any sod. sybttthtafs are grounds
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                        pi ft«lnem’s>knmvledse and Wief. Misfeixesentaticms
          term in at io n of t his t ease.

                                 of ih,sLeaseis lot.net by aconn ol competent iurisdidioiMO:bevoid or unenforceable,
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   25,, SI Si BASJUI i »tt-'-y
     ■ prbvtsionsshail continuein Ml fa rceand effect,
         , c-c Aom r : ihc iMECi RM ATt ON Resident ,aGte« to provide         Owner with acismpteted.resident datash^ l at least anmially if
   ^                                             asneceisaty. tokeepall mforrnationthereonturrenL   in a lor.h acceptable to Own er

           inr olsfedg^sandagrees.that O-vner may.totheextent.r-erminedbyLawandu. accordancewithOwejerspr.vary policies
           promulgared horn limew time, ishaieell it.fom.alionprovided by RKideht toOwnerwithany bf Cvoter-safnhates.
    a      GOVERNING LAVyj .jaa fi iK l S,
           iai ^GneerninaUw.ThisLeasestvall bogovernedunderthe hnvs of the State in whidt the Community if. lucate.ii,,
           fW Cbitfl icts TO the e« ent th.i i -Buy l aws of tl le State impose any requirement on O.woer or Resident
                                                                                                                              t h at a re, cri nl rary to any

                  provision of this l ease or prohibit the inclusion in any lease of any pro vision included >n this Lease,
                                                                                                                                     tlt is LeBse shall be

                  deemed to be.amenaed so as to comply twlh such I sw, Tha reloimation of any provision of'this Lease .shall not invsl.t|au-
                  this Lease, If .an invalid provision cannot be refoimad. It 5h,i ll be isevared and the lemaining porltons of
                                                                                                                                     t nis Lease .Sh all be

                  e n f o i c ed

           MO WARRANTY Resid-mt acLnoWledges lhat Resident has had the.opportunity id iiispect the PremisiiS.and tl.e Co m m un i ty
           prici' 10 signing this Leass. Hesident tiinhw acrinwilcri ges^that, to the extent permmed by Law, Ownar dM alms any w a n s W i e s ,
                                                                                                                        Prem ises an d t h e
           that the Premises and/ or ilte Community v.i il be tit for any particular purpose, and Resida it takes the
           Community ' as is“,
    as.    NON-RECDURSE o bl i gat i on QP o w n er            Except as othenvlse rnatidatL'd by LaW, Owner shall not be liable to Reslcicnt fa t
        ^ anydainageTcos&orexpensesinescessof Owner'sinterest in the Premises (and not any other poll ioii offa ti.e  Community), .All
                                                                                                                tu i e asset o f O wn e r.
           ludgmentsagainst Owner shall be erifOR-vd only against .sucti interest and not against any other present or
           Resident waives -any nghi to nake any Claim against or.sesk to impose any personal liability upon any of O w ti er s Rotated Part ies
           Coi her th an .Ovmor}
    a      assignment bv OWNER: SUBOROIMATIOM AND ATTORNMENT.. Nothing in this Lease restricts Dwnc.-'s right to sell,
           convey,’ground te-asa. hypolhc<ate. assign or otherwise tieal with the Ptemiies or tlif -Community or Owner's interest Under t h is
           Leasti. A sale, conveyance, or assignmeiil of the Prernrses or the C6mrt iOf.ity tvill automaticalty leleaseiOvviitv fro m liability under
           this U i se. Resident shall look solely, to OWnei's uarisferse, lor parTomiancs of Owner's obligations rsfating to the period nfle.r
           Strefi effective date. Tins Lease will ncir ^ affect.od tiynny such sale; conveyance, CjfiMimj lease hypothecation or assigninew . and
           Resident will attorn to Owner’s tra nsferse. Resitlert l accept., the Premises subj ect to jind..subordinate to sriy existing or future
           recorded rnortgagn dead cf Puct. taseinent. lien or encumbrance, or; if detennined by any lender, supeiicf to any existing or
           future mortgage or deed of triisi.
    3J.C STANDARD OP tscr ictr ifv Unless Ptherwlse expressly providEO In this Lease or required by Law. if Owner h as discret iari w it h
         respect to any mati er, or any consent or ’appruvsl Is to ba inacia by Owner, such cfi scrrrtiQn, consent or approval shall L>e in
           Ovfrier's-sble and subjactive.discretidfi,
    32. ARANDONMENTt RESIDENT'S PERSONAL PROPERTY, if Rej idsnt abandons the Premises, quits Of vacates the •Premises
           voluntarily, or is subject ro evioion pursuant to applicable Law, then: (a) Ovro ei tnay remove any property located o n t h e
            PmmlSirS. but Ovmet shall not be obligated trj effect such removal, a.n.d such propert y may, at Ovrner's optiari, be stdrad
           elsewhere, sold or olhew iss dealt witli as permitted by Law, at i he ri sk of, expense of and fo r the accounl ol' Resident ar.d the
            p.rpce.eds of any sale shall be awaliecl pursuant to Laiv; ami |b! Owner's Related Parties 'i hall be itelt! hamilea. from aiiy damage
           .sitffered by Resident , Without limiting i.he fa regolny. li Ovmer reasarudj ly bdievcs thai any personal property o f Residon l i o a t ed
            ln..»rotinri or si tat lied to the Pi emises i ias been abandoned Owner may hold such prnpeny without llabirity t o Re s id e n t , T b .t t w
           .exte nt required lS)»Law, ©wiser will-notify Rksidiifit at Residem'.s.last known address oUhe abiitidcwcd piopatty. !f Resltte m uo ei
            n o t then piompl ly claim and take possassion of such pr   o perty. Owner has RosiiJent's pemiission to dispose of it in a ruasEi iiaUle
            manner. Rcsidem will, as .M rlittonal RerU. pay any reasonablErharoes that Oivnermay incur fo rsw ring, moving or •d.ippirtg-such
            pro p oit y.
Case 23-41037-can7                            Doc 22-1 Filed 08/15/23 Entered 08/15/23 11:46:41                                                                                 Desc
                                                    Exhibit 1 Page 10 of 20




   «                    cUSliSE Ihli L.»3so togema With th= Atwchmenls ami Community Standards, constitutas the entire agreement
   ^                                   concerningfesideni's            ofthefremKes,More,tres8nt3tions.ondersandin^.oragreements
           S f or                        thematingofthisleaseotherthanthosrspecificalty.sot fo rth, & cept « other.«se expressly stated, .ins
           Lease can only ba modified In a writing rrigneti by t he part ros,
                                                                                                                                                  each
   34 -RECHPT-OF LEASE the undersigned Resident hereby iackhoWtedgM tins Lease is executed in duplicate, and
                            W li) andunderstandsthisLeasea.foallAttachments,                               and te ) understands the Standards may,be revisad.
           fr« m tJj ne t o tirr h?.
   ac      MI H.TIPI 6 bssi b eNTS , If Ure.e is more tlui n one Resident, each Resident is .jointly and .seveially liablefor all obS
                                                                                                                                    igatiopsmta^
   “ *                                     of IhivLease by any Resident Pahy.h.a viola,iorsby all R«idar,s. Requestsand notices rcbb Owner to
           any   L ident-constitutenoticetb.aCResldenrRaities.Anotice from, consetil by imcludmg consent lor entry-       in to

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            exk rtitim,-uMdebyOsvnwtoctneoftheResidentsshall hind all Residentswith the same force:ana efl ec as if .made to each
           Resident Any person who haspeonanemly moved out accordingto,anaffidavit signedby^aR
                                                                                             sslcfoftt is.,at Owners                                         opl'On, no

           Hnrjt enfithrdtooccupancyoforkeystothePremisthis
                                                        es.The  leimination of such person’s ri ght of occupartcy ot the erem.ses shall
                                                            Lease unles.s specifically atj ieacl in wtilmg by.Ownei m evicnon siid., a y
           nw t elease .such parson from any obligaliorts under
           ona.RiKidenl is,the agent of all other Resident Poniesfor purposes pi j udicial service oi a tauon.
                                                                                                                                                      Sta t M on act iv e
           Mn iTAHV SERtnCE In the evenf that Residem is now or becon,es a membei ul the Aimed Foices.of the United
           d7#^          r; 5:^ t;ange-of-du.tyorderstodepartthelocalarea then Resident may tennlnate dtls Lease by giving Ow.wr|tii,^y
   M .
                                                                                                                   In surl i event Rea der-,l
       (30) days' wnuc-n notice, provided that Resident .5 not otheiwtse in default or breach under this l a-jse
       shall furnish-Landlord a ceitU'ied copy ol sudi cfliciol orders wihich warrant tciniiitalion of this Lease.
    37 esAcnMARi Eaf r ftMMnPATTONS If aResident, prospective Resident,or 50il>a ifre associated,svitli a Resident has a disability,
       Ito/She may make, a written repuast fo r a reasonable .t ccoir.inodalion at any time, .Accbrnmodatiohs
                                                                                                            _       m Standards, poiicira;.
            practices or seivicesm.i y hr; madewlien such accommcidallunsmay be necessary to afford such person equal opportunity
                                                                                                                                                                    fo   u se

            and mtioy a dwelling. Readeins. prospective Residents dr sdml pna assdcialsd with a.Rep'dcm adrnoi^ edge a
                                                                                                                       housing prcn-itler
                                                                                                                                   urd en ’' or tt
            tan de'ny a request'for .t re3sqn.nb!e accommodation If it wodld impose an ‘'irncfo .) financial,and administrative-b
            would ■fundamentally alter tlie nature of.ltie piovider's operations.' Please cdnlect the Comm unity Mair
                                                                                                                    i a3*i so gat a copy,of tii e
            reasondble a'ccdmmedgtiDn polity and the nectissary forms for the Resident to complete and return, The .Coitimunity Manag.ei
            will gtovidfi 3 tirmjly wiftfen response to Resident's request foi s reasonabk! accommodation.
            FAIR HOUSl N g , Own er and the Community Manager offer Equal Housing Opportunitirss- Owner rj oas business In .i cca rdan ce
            wi'tf t Slate and Federal Fair Housing laws and will not disenminate against any person because ol race.,color, age. religion, sa-v
            handicap, te milial i wius or natfoital ori gin in: the sale qr rental of housing or re5idfi nli.t l Idte : advertising the sale or ren tal o f
            ItpuSirig; financing of hous.nq, pi providing leal estate biokerags services.
    I S.
            •A d d it io n al Ro nt ! All Sl im s (ot her th an Bsss Rfi rtl i .du e un der this t ea?® to Ow ner,

             Adult Recreat ional Substance' : Recreational non-medical rrari juana to the oxtem it has been legafe ed In the St at e w h er e t he
            Gomntuniry is located,
            " Anent " . Aiiv'peison authotived by Ownw to a.ct on iB behalf,
            •Apalication tor Residency'; Each .application for residency and/ or fi naitdhg ./ppllcatiori aibmitted by any Resident Party in
            cDiinechon with a Resi.dciu's applicatioti for initial or contiimt-ci occupaii'vy at tlie Premises, together w ith all o the r in fo rin Bt ion
            required to be submitted in connection vvitlt the appltcatian fphpht ID, inepme veriticafion. references, effc.)'
            ■Approved Occupant': .Any parsan authorized, or sCreerled and approved, by Owrtw tq live.at the Premises.
            •An achments': f hp Attadirnents iiulira ted ant) chut te d iii the' B.asic Provisions a,i briiiig a ftaft of tftis Lease, togelfier' with .any
           'Other adderida, agtEernefti.s, and oth.er art achmenls that become a part of Ifiis l ease.
            ■Bas e Ren t ' - Th e Base Ren t set fa it h iri tf K Basic PrcTvisi on s.

            -'Bask Pm Uisi o f iS- . Th e Bitslc Pro visions set fort h in th e i Kase,

            'a alm*. Any claim for tulief, inciiiding arty alleged damatjes, whether accrued, contingent, inchoate or ottierwise, sucpea erj or
            Uhst.ispected, raiseri affirmstively or by.vvay of defsrise o r o ff set.
            " CO H " t Co ro m u n it v - O mn ed H o m e): A manuf actu red ho me that is owned ij y' the Gwrujr ar Owner’s. Related Parties a nd r& i i ed
            10 4 ReSid r nt:

            ' Co mrhon Areas' : Any pariririg ibis, driveways, walk’w.ays, passageways, Isiidscapedvareas, laundry toura s, recreational areas, p o ol
            areas,' dub Kousei -and other arras.and taciiiliBs available for common use by Community Reside.nts.
            ' Com munity": The Cammii niiy set fort h In tire Biisic Prb v isior® .
            ' Community M anBaert: The efnisioyee of the pra perty management company that managM.flie Community for Owri er. Th e




                                                                                                                     't'.rvi. v .'.c'pJF- .'   / f ’e!" .   ■.V /          .;
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                                                                                                                ot Homcsitc QA/iwr aii'J, if the Piemises
     Commurt iiy Wonagef acts as an agent of C
                                             tivneri ant) also atfaas asepaiatBagent
     Inr lufe the Home, How s Owner                                                                                . . . . -
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     S tmmuniti Mfte -:theofiieeot othe, shaceusedbythe                                                  uort ititv 6f the'
                          Any tastdent. tenant Subtenant ot oU. t ocoupant of the CotnmutVmy .occupymg a


      Ttnllv.Late Fee": Tile daily law fee imposed by O.vnei fraiti time to time,.but In tio,ev« >! m e.eceas
      petniiUed by Law.
                 Date-. TheEffectiveDateset tonh mtheBasicP.owsions,
      ■cjnr^i'oniePaumeitK!: fe detin.ed ill.the Lease,
                       pjiymMit ft uthprf gitioo*: Asdefined mthe Lease
                                          Ow n er ’s co st s   o. entoicihg the terms of thts t.e4.se and of sote Lion. md utiimj
      i^            : S r ^:i ~                bleano.neysMe«iinclud.nginmousecounseland
                                                                                   i-to.nises for less than 14 consecutive tlays
      ^Buert- A guest or other invnee.oi Resident thai reinporanly resides at the
                                                                    o r Rf siden! Ovnied Home Addctitium^
       "Home": Tire Home dc-scrilxid in the Hoineft entei Andendum
       •H Ba te A d d en d u m . .   The Hdme Renter .Addendumof the Resident Owned Holts^eAdtl^nduny depepding on whicit Addendutn is
      •at i at h ed t o tl i 'S l ease.

       "H o m e             The Hdhie P.eht aet (dt'.li in the Basic PtoVtsions,
                                               ie located svithin tttfl Coinmwmiy (the leims lot and            HdmasHe may bpdSed inlBrchangeabiyi,
       •HamesHeisr -. Any lot or homesite
              T it e Le as e Ten o " li as th e m ean in g set te l tli e in the- 8aalc.PfoVi.siC!is,
       -H n m C

       H n.npsit e Owner ': has th e meaning set l ort li in the Basic Pioyisions.
       ' H o m esit e Re ht 'T The Ho m esite 0 1 lot KeiW
                                                         .set fortti.in ihe’Hasit PiDvisions
       "Hoitib Lease Term": Itas.the nteaning .sat (or the In the fc S'C Prov isions.
                     - ^ - E. ithei the atiiliaieot HonlesiteOwner Identified In the Home Renter Addendum asThe owner of .the Hpmft                              o r
       •H a m a O w n e rs
                                                                                                          Add en d um Is s n ai h ed tc t h e
       the Owner of the Home identified in the Resident Owned Home Addendum, depending,on -which
       L e as e .
                                                                                   ■as amen det l ,
         H U a Ctt ri e- Th e WanoiaaUred Home Constnictlon and Safety A«-of .1974,

       -Lara Charoa- Th.e late charge imposed 'oy O-vnar fioin fiina to Um.e, but in no e-renl in escfe pi ths mayi.nunt
                                                                                                                         lat e charge

        permitt ed by Law,
                                                                                                                                   OhJets, iylings or dedsions
        .‘ Latvs": All federal, state attd local laws, eodes. ortiinmreas. lules. regulations, otlx-r tegUirErfi^na
                                                                                 d epart m en t o r Judicial authpriiy having .j urisdiction over the Premises
                                                                                                                                                                 or
        adopted or made by any govemnieiital body, agency,
       .Resi dent's scl iyitie.i; at the Pramisa ',
                                                                                   Part !, the Terms arid eondllions set Totth in Pan II and t h e
        •Lgass-: This Lease, including Shu Basic Pro vcclons set fo rt h i n
        Alta chmsnts listed in Ihe Sasic Piovisioiis, as the s.t me rnay.be Pnwnd^ from time to time.
                                              Collectively, all (a) persiwal proporty. -sate , u» , e'edse. gross mcapts or similar taxes that are
                                                                                                                                   pi th e. Lpmmuiiit y.
        assessed or dub by reason oi the Lease or Rssidenf s use oi the Home or any olhEi pcutfdn of llte-Preirnses w it h o ut l lm itauo n,
        anrj {bi any and all fees, fini s,or other charges t hat ar s e fiom Resident's pccj pari cy'of the Prertiises. including,
        fees and charges imposad by any municipaliiy.
        -l.o.-fSB Term-: Cd te ctiVuly. the HomasilE Urase Term. Hotfx Lease Term (if applicable), any Mprith-to-Momh
                                                                                                                                        T erm an d -any
                                                                       to a ren e-w al add end u m .
        rene-wal teim exerci saci (or deutneti exerci^ d) pursuant
                                                                                                                          resulting In death), cost bi
        'Lfi pses:; Any dai.-n, action, lien. Ifabilitv, Rnc-, damages, injury (whether to person or prciporsy or
        expense, including roosonahleatt orn eys', fees lihcludihg in house counsel and appeal),
         •IVl hnt h-to-M ottth Term !. As detined in the Le.t sc
         •M o on tn Dnt e-: Th e Wrw e In Dat e sc-i Ipit ti iri '. tie Basic Pr ovisio ns.

         •Won-Rent Defguife - Defaults under this Lat su. othei th an th e failu re to pay Rent or other ampunte due urtder this Lease that
            considured ' Rent' by appiicabls Law.r,r imdr r this L e a s e ,
         O lV

                                   A person wiro re-tides st tire Premises wil hcHit Oivner's c o ri se n t .
                                                                                                                 i n l ias Lease a nd/ or t h e
         •Owner -. h.as: the meanina set forth ih the Lease, providfid. however, if Owner fransfeis ils interest
         Pre mises, from snd after sudi .transfer •Ownar' shall mean the transferee of .such Interei t .



                                                                                                             Ck >h3l l r-.m   ! A HSint&s /            / HJi S- / /
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      ' D tei i er ' s N o t ice A dsfa fi Si : : O'A'n er   Noiic? Atidfoss-wi foith in (he Bask (>.ovwian5, .r.s,Ovvntt >may change the same from time
      t o titr ie
                                                                                                                                         of tfw Comrnurrrty and
      >nwner-s Related Earfi es: - CcHisctively. Ov  Community Manager, artymort gageeof all or-anypcrliori
                                                                                  ahsrehoWers. empioyoes, aff«UatS5?; .                                         sna
      each ol their respective orficers, directpiv. memoera . managers, partners,
      repfe5f-*JKai }*-‘es.
      -Pro mfe es'-, The Premises «!t fort h in thc Basfc Provisions,
                                                 -nient-CamHaBJfii Intpaa t;otfimt.mh«K, including
      -P«mBrt V_M5£!aggl l -Pf “Propridyj ai fi SC
      Owner and, if ill's Premises mclufl es the Home, Home O w n B C-
      '•Pmnrt nd nSt Mrmi h’rsRenf : t ire Prorated                     Month's Rent Sft t fort h,In the Bas.fc Pfoyisions.
       :Sgni:;.Coller:tively, Base Rent. Pm,Bind 1«.Month'sRent (if any). Additional Rent and all othei'amouhu
                                                                                                                                         d ue t o ^ vn er pu rsuan t

       to ,t h is Lease
                                                                                                                                                     In this Li-gse
      TRent Damages*: Collectively, fii ell accrued Rein t ' lai is p ast dueand unpaid, fii) any late chatges (sayable Rursuanf
       and (iil) cnfctcemcnt Cg5l .s,
       •nrmt P.- ument Aildrgi v’': 1he Rent Payment Address set lort h in the. Saac Provisions. as Owner may change the same from tithe
       10 Sn se,
       rpi^nt Oefe ntr T^».i l»a«lem Damanos-, Collect,veiy, (i) Rein Damriges, (ii) in the ssrt ent permitted by
                                                                                                                                         Law all Base Rem ih .i t .

       S haSbtS S by'ReademtoriheremainderoftheLn,ise.Term                                 and (iii) to the extent permitted by Law, any other
       amount necessary to compensate Ovrtier for all lhadeirirr.enl proaimately caused by Besidc-itt's failure lo tier,arm its obhga.tipns
       under t)i l5 l ease or which in the ordinary couise'ul tilings would be likely to lesult therefrom.
                                                                                                                                           thi s'
                          The Residemisj sei forth m the Basic Provisions, together w ith each 'addiUonDl te ident that becomes a party to
       Lease .
        ?«.irs!Hpnt Owned Home" falso “ROH"): The HoriVe described in Ihe Resident Owned It o/ne.Addendum.
         Resident Pafirf" nr "Re^ rk nt Parties ' Cotleclivelv, Resident. Approved Occupants and each .of itieir iwpecuve ogen B ,
        contra Onrs, tSussts, Heirs, esecutors, admfntstra tprs and permitted assigns,
        ' Resident's Not ice Address”, assidenl 's Notice Addiess sat fo rd , in i liSi Basic Prov isio n s.
        •Rules and Reoulii ti ons' : rtig rula ami i egulstioni: cancemiiig Residents use and occupancy or the Gornmiinity as updated from
               tlrrie, The teirni ' Rulesend Regulations.' and Xontniunlty Staii dards' hr ' Standarrfs" anri may be used interctiangeably
        t ii n o t o

         ':s#ci iritv Deoosil *': 'The Security Deposit set forth In t he Basic Prov isio ns,
        *Self-Haig Costs' : Asdefined in (he l-Gasc*at applicable law.
        "St andards' : fhe Cotiimuniiy Standards, or "Rules and ReguiaUDns," concerning Residents use and octupericy of the Cammupity
        ay, updated from time., lo time. The. terms '^Stanilafds,'' ‘Commimity Standartis" or "Rules and Regulations' may be used
        intard ra ngaably.
        "Sf at g": rii e stats in which the Cnniin.u nily is located.
        J i ats fei .'; Ta auhleasc, assign, transfer, convey, rnortgage. pleri ga hypoliiwate. at .i ncumber this Lease o r Resid en t s in ter est
        Ihe.t eip, or to otherwise peimit the use « sKcupaticy ot the Premises or the Ntiiti.e, oi any part thertiof, by .H,y.-jne other th.i n
        Resident, wffstiier by operation ol law or otherw ise; provi ded, however, if Rci ident owns the Home, Resident ni ay.'subj cict to the
        terms and conditions of this Leiise, .(i ledge Rei ideni's interest in i he 'Home (but iiot Residsnl 's interesi in any port ion of the
        Prem ise.s).

        rt JBHtv Bill" Ac detiried iri the Utility Addendum


        tSignaturo page tollnwn)




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    ACKNOWISDGEO, accept ed endAGREEDavcf (lieEffectiveB a t e .

      OW N ER;
        . )



  L 2• Title: Wf,enl                               ' m te
                  signatureisalsouaUdnstoHOMSOHWil?but only if
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      RESJD ENT St st ;



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              icfm Siprmiiira
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       Resident Si^ natui e


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                                                             P a te '   GunrsiHor SignsiDip
       Gnatatiti e Signature




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                                                                   ST/i t E SPECi PIC A DDENDUM
                                                                              (Missou ri)


THIS      STATPSPfGPICADDENDUM                                                              to, (ncorporate-J.nipand.nadean intel ral pa,i
                                                                                                            an d Resident ,
amended from time lo time, the -ts jss"! and « dated a s of the Effectwo Date of ifte.Lease i>eVwte n Owner

          eomniunity I'Janiu and AddreiSI'CoEUntmjLK' i'
             Nerdigate ManufBcturBd HwneCarn ire mily
                   i :<« ) NE US Hwy.SR
                   Libeny, MO 5^0SS-

  (b )     Namejs) df Resfdenttsl tigrting Lease (colleCliwfy, "g csi dgi tl ' )
                             Jess:ca./^batc3                                                       (31
                 (1)
                                                                                                   M i




  tc)      “ Premises" :
                                                      0 55
                    Homesite/ Lol Nunlber.
                     St reet Ad d ress/                1260 rt L l lS.H-.y,- 69 r<S5

                     Cil y/ Sl3ter? rt>.               Liberty. MO &40.6S



                                                       t he Sta ts o f M iSf-Ou ri
  (rj )       Tiia ‘SM s"'


              N ot ice ctt Prior                       Hat 'Oe/ner received vifitten notice from law enforcenienl au l ho ii fi s s t h at t h e Ho m e an d r'i?.'
  (el
               Wettiarnphetsniirii! Production;        Homesile have been used for the manufasteic of ntgiharnplietaminel

                                                                    CX ) No                                           ( ) Y«

  ft!         iN d t ica o f Pr ior Resttfw f 's       h ave Ihe Pi eriiises been the place of re sidence of a parson convi« ect of any of the lQllr.)wtntj -£iiti ies,
               Criminal Activity                         have they batai a sttj ratie .t ile, or labbratoiy, (or any of the folibwtng substances far which ,d
                                                       o r

                                                       person vras convicted of SiVy «f the following crimss, provided that,Owner knew or should Have
                                                       kn ow n o f su ci t conv ict io ns

                                                             (i). Greahon oi a controlled substance m violntion o f RSW o 57 9.1 10 ;
                                                             ill!, Prnsessiran of ephedrrne Witfi intent to rnanUfattvie nielharnphatarrvne in violation eif
                                                                   RSM o 10 5.24 6;

                                                             fiii/. Unlawful use of drug paraphernalia with the intent to ntanufacture msthaiii pltetamine in
                                                                   vioU l io n o f sub secti o n 2 o f RSM o S7S,074:

                                                             jiv) Endangering the welfarBof a child by.any of the tneans desctibed In suhdivislats.v f'f} or (5)
                                                                   o f R5 M c 568 .045; o r

                                                             ju) Any other crime rete fed to metlianiphetatfiirie, its salts, optical isomeis, anc sate of its
                                                                 opiical isnnia s, either in RSMo Chapter ,135. or In any other prcivtsion of law.
                                                                   ( X ) No                                           ( ) Ves

                                                      R ESI D EN T A N D O W N ER A G REE A S FO Lt O W S:


 li       ADDEISiDUM. Capitaliced tenrii used in this Adrlft iidum sfiall have die meanings set. fort h trj the Lnafe                       Except i s expressly niori ifit'd by
          this Addendum all terms and condintj ns of the Lease rernani unchengt tf, and lire ptoyisioni of rhu Least* are applicaWs tb the fulltrsl ei it-ru
          cd nsi st eh t w ith tin s Ad d end u m . If a co nflict bei w een th e vern tf o l Ih Ls Atfd end u rt i and th e Lease exisf s, th e derm s o f th is Ad dend u m shall
          conlrol.tne inati ers spad ltcaliy govemc'd by this Addendum Any breat h of the terms of this Addendum shall constitute a breacir of the
          Lease to th e sa me e xfii rti an d w ii n th e sam e tvim ediss to Owner as provi ded in the Lease pr otherwise avatlabte ,at law nr eijuity.

 2.       LAWS. Any and all references in the Lease to "Law' or "Laws" includes, tvil iiout rirnltatlon, the 'io'lqwlorj as may be amciidetJ from
          t i f n e - t o -.t j n i e .


          (3)        RSMo Chanter 441.
          (b )       RSM o Ci i ap tar 44 2,



                                                                                                                           Slate Addendum | MQ i Sepi 2,0 18 | Fage I
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   tci. RSMo.Cl'iapUfr'435.
   (d) SSMo P'apler b70, anti
   (e) RSMtJ0 iaplC
                  -l 700.
B. <iT&TE-se£aFic ggQyB?SM&                                                                                                         autiw ri asU to itiaisage ill *
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          CDmiT                                                                                                                                 ,   .   .     ■    .   j



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    M                              Notv^h,landinganylh.ng.ontainadinthelease.Owner
          Owner due to the aal 'On'S.gi RKidnnt.
    tdl   n if m pr Cov en ant .    Notwithstanding anything iJse.eoritau.ad in Hie              Owner shall do the fo llowing;
          01     Keep thePreinisesin« habitable,sa'titsry. andsc-forecondilion; and .
                                                                                      water, eleclri t:^.!, end gas .senrite,
          (ii)   Refr ain from «nreasonalsly shotting oil. or inwfe mgwith, Resident's
                                                                                       the IMSK, Resident sliall do tfie fo !io>.'/lng;
    Isi               Covenfl ti.t s. Notv/iiiiSRoding anytliing else conUtned in.
           (i)   Pay 3l1Rent when due,
                                                                              ta In tlift Premises In a clean and snnbaiy manner,
           «jj Disposeof all fubbisi'. gaibage, and othei organic        w a s'



           iiip Reirain fioin unfeasohabfo useof electncsi. heating and ptumbing fiicurc-a
           (ivj Meet ail obfigalidnslawfully imposed onIfo siden't hy a governmental itntay;
                                                                                                     removing any part of dip Premia®, or the
           W .Reifain irom wlllluily or wantonlv dssltoying. defadna.
                                                                           damsgl ng, impainng,              o r.


                 fadliliK, equipment, ot appunonarices Iheroof. and   prohibit .any other person on the I’rentises with Resident's permission fr om
                 ■doing the same: and
           fvi) Ho.t: lal E'fo additipnal occupants. .sublt-aM! the Preowses. pr assign the Lease without Owner's £» » ««■
                                                                                                                                     pressnte to Ownet (or such
     (Q insuffitieiii Furtds: Resident agiew to i» y p-wnei 52000 fci-each dishonored banh checKwhich Resident
             T'amount as may In?charged to Cmn-i liy It.', bank fo r any such dishonated ctiKk.
        gtealC                                                                                           bvit in tio eyent in excess of ttis amount
                                                                                                     returned lor.itisulfi cient funds, te iefe nt shall.
        peunmed by Law), in thcievent that two (3} or nra rc- ciiecks i,uUi ii.tl ed by Resident are
           for the remainder of the Lease Tenn, be required to payby money order, casluer's,check-or certified funds
                                                                                                                       only.


 ACKNOWLEDGED, ACCEPTED and AGREED as of tlij*Effective D a t e



                                                      J l V li20
                                                               Data '



  RE51£JENTS(S):
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                                                                 D .m             flesid^' i! SignalUK                                                      0 9»
 Jfle^c/erit Si^ aivte

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   Restdam Signmura                                               Oa c' s .       Kei ich '^t Sig nMvis '



                                                                                                                                                            Da t e
   GM ranmr Sfgnannp                                             D .W             Guarantor Signature




                                                                                                                    state Addendum | WG i S«pt 2018 | Page d
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         Charros biJlMi to the community by ths tots! nwnbtri                    vacant residential units, and non-res.dential             un its.,   hw e ch sfgw

         may also include local end state taxes, infrastructure ciiarges,wastewater charges, swvicefe^ andchargesarid     f
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         water,sfeivice and rJivuling that by the total number
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         2. SEV1?ER Each monthly sew® (based on the svster usage d thelsewei meter :is absent) bill is comp.ised
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                birhisassessedeverymonthandappearson Base and.volumethc charges are genera lly calculatirf
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         <mvc.f usage rharge) which is based on metered consumption.
                                                                                                                    of occupied and vacant residential
         Rase Charge: determrned by dividing tlur total Hxed charger, billed to the cohittiimiiy by thetotal number
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          units and rion-iesidential units. These chaiges may also inclu ri e lo cal and sta l e taxes, inirasti u ci u r e
          te s and charges and nistei toes charged by the uti|i>y .piovidcr. may also include operator diarges, te sting fee^ fi lingfeesasrequiredby
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           provider's total murtthly vdlumelric charges foi sewei service and stromwatei .sere ied and dividing than he
          the Comrnunily: may inciudu applicsblBtuxes.
          R ELECt Rl o r y. Resident billed direa ly by the local utility company, as a Direa-SUIed Utility (as defined below ).
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          4. Mat ur al gaS. Resident billed dlrea ly by the local utility company, as a Diieci-Billed Utility (asdMnSd
          S.-ESSBAMi - Rdstdant billed directly by thelocal utility company, as a DirecHBilled Utilily las denned betoiv),
          S. t r as h . Fl.l ! fse oi f l'O.UO, par rhonll i,

          7. r ABlETV/INTERNET. Induded in rv-nt and paid by.owner
          8 OTHER Admir.islraiive Ch;ir:j a:-.S2S.111Jadiriinii i.Mllve lee -will be {harped for any invoice dial the community recaives lot your
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          dir^^ ed Utiliryplusil.einvoiceumoui.l,,Rek-rencese'ctidn 2.a.ii below, Water Metei Charge; SS.M Water meter reading, usage and
          .analytics let;,

          SJ.OOVehicle parking tax. per m.rmtii .
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    1     ADDENDUM. CaoitaldiHl te nm used in this Addendum slra ll have the rneanings set fo nh in iJie l ease. Except as expressly mcditied by tins
          fe ;;i ;^r ril lormsandconditionsoftite Le.nseremain,undi.i nged, and the provisions o.f dte Lease,are ;.i ppUcable   to th e. fullost ext e-n t .


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             us ge diaroes. All dwrges billed to Rcsitk nt are based
             totheprovision of uliiltte As a regular pan ol each monthly Utility Bill, Resident may also be charged Fne        amon.onihly
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             I Ii itiiv and Scivir e GhHinnsi Oth.ti ,n additi on to the utility seivice charges lot which Resident is billed-
             fe v^Vil mticr billinr,, overheadand similar expensesand charges incur,ed by Owner for oroviding and/Or piocffi raii ft UU ily Bills.
                                                                                                              monitoring; fi !2yiri.£4 ba ycffi r
             Ownermay uss a thi'd-pBily to proVirk all or part of theuiillty billing seivices or lor mcief readmij -and
             (hat Owner shall at all times resume th-r naht to calleet uitpstd Utility Bills. No osha service fee will be cliBigcd by Owner, including
                                                                                                                                 Resitiem agrees to allow
             Sewice fees for 33s, wste r, electric etc, uttk-ss such te e Is charged to Ownei by .a thirdHiany utility provider,       to read, and 'Serv ice
             Swner. a billing Seivit s ptcvidcr or any utility ptovidets designated by Oc-iner; reasdnabte atcuss to the R-enusers
             the submeterfs), il any, fo r.the Riornises.
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                     L      Pforatipn. if Resident moves into or Out of the Pra nisK on a date other than the first day of the month,.Rei ident
                                                                                                                                     of Pe n t o r ut ilit es fo r
                            rharged tor the full pen'od afrt ime that Resident Was IHring in..occupying.- or responsible for payment
                            di e Ptemises

                     il .   Vlft glNiA RESlDliNTS ONl V, Owner may charge Rfl sideni a ^5 00 late fee iti the event Ri^ ident is.latii in its pSyiheni of
                            .any Utility 8)11.

  .k     REa PENT DEFAULT. It Resident is In rJete ult undei the U .a.se, Resident shall be liable for all chaiges for utiifties thraupn the time it takes
         OsyiK-r to,retake possssslon ol the Premises, 1egardlcss of whether Resident is still occupying the Premises.
                                                                                                                                 Sill anti each Direch Rrjfe d Utility,
  J,.    FAILWREJEO-EM JJSffi l-SS, Rfesidchl shall pay all charges lot Ulilitieii on-the date specified in 3 .Utility
         whothi : fa Owner or a iHiid-tia«ty utility provider.         This covcntiri l is inciependert i of .every .other t oyepam o f th e Lease. If Residen t i',
         charged lor utilities separate ly fromRent, then such chartj M .shall be deenisd •Renf Sor.puiposes of any def^ute under the Lease, R“ tdwi
         .shall not allow any utility, ollter than telephone. 10 be tniemipjfcd or iriterfefiKl w#tth or disconnected by gny means.; mcludfttj uu?
                                                                                                                          associated M'th g.-ts or siecrriclty.
         nDn-nay.«w t of a bill, until tire enri of the Lease Tern , Resident shall pay nny utility reconnec tion lees
                                                              if paid by-Owner, wliicli shall beiadc
                                                                                                   led to Residenf t. next monthly Utility Sill.
         alther directly to the utility provider or to Owner,
                                  Rfi Sident shall use ll ic utiliti Bs only for erdinary household purp'.isets.'atid shall nut waste tlwm

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         otIli lWiSB permitt ed by t aw,
                                                                                                           Addendum as being "Included in Base Rent," Owner
         pccgBtrATio hl Qf RIGHTS: Where i itilil ie.4 or Other Services are stated in t he Lea.Ve Of
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                                                           MOCL Narthgste MHP, LLC
                                           Ma k s    all Rent Payments By Checkor Money Order
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  Adult B iit hdales ;
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  Name & Birt hdate;
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  N ame & Birt hd ate:

  Are.any residents in this homa e member ot the Armed Forces?
   I                  1?fi n ME US.HvW 69 SSSJ UbeOV..
   Mailing Address:.                       —^                             --
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   W idth of Hom e :,                                                                          Length of Home;
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       Number of Children (living here)      =- a                                              Ages of Children■.

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       Numbcr of Pets;.      t )                           TypeofPets._^jM
       Emergency Comacl Person end Phone
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       Insura nce C om pany:

       If you have a loan on your home;

       Name &.PhQne it of Bank or Finance Company;.
       Usl all Motor Vehicles to be kept at the Propert y;
                                                                            Year                L i ce ns e Plat e #           s t ate
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                      AeKNOWLEDGEMENTREGARDINGWRITTENLEASEAGREEMENT

                                                                about to enter into a Lease,,which isa binding
   By signing-thisdocument youacknowledgethat youare?
   contract withOwner andthat youunderst^tdthe(oiiowing'
           (!)■Any and-all of the terms, conditions, represemations, warranties, promises or assu.anc.es or Owner or
                                                                           related to the Lease are set foft h indhe.vyntten
                 any of Owner's agents, representatives or employees
                 documents associated with the Lease, including but not limited to any addendums and the Gommunity
                                                                                oral t erms, condi t ionSi
                 Standards (collectively, "Attachments"), and that there are no      , .      ^
                 representations, warranties, promises or assurances relating to tireLeasemadebyOwner or any of
                                                                      not included in the Lease and any Anachments.
                 itsagents, representativesor employeesthat-are
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           (2)   No t erm ,. condition, represeotaiion, warranty, promise or assurance
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                 tlie Leasetiniess it is induded in the Lease end any
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                                       ion the Lease and any -At achnnKnts unless each term,
           (3) You are advised not to sign
                 represehtation. waiTaniy, promise oi al sufance made to you is induded in the Lease and any
                 AUachm ent S,


            (rS) Once the Lease and all Lease Attachments are signed by you and Owner or Owner’s agent,
                 representative or emolOyee, any amendment, .change o r modification to the Lease or Lease
                 Attachmeittsimust be in writing and signed by both you and Owner, dr Owner's agent, fepresematiye
                 or employee,.beforeit becomeseffectiveandenfo rceableas part of the Lease and any Attachments.



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    l^ sf^entSignstiirc                                               Resident Signature
                                                       D at e




                                                                                                                             Da t e
     Residen t Signature                                Da te         Resident Signature



                                                                                                                             Date
     Guarantor Signature                               Date            Guaiantor Si§natuie




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